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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                Plaintiff,                                   Case No. 1:12-CR-132-21

 v.                                                          HON. ROBERT HOLMES BELL

 FRANCISCO MARES,

             Defendant.
 ____________________________________/


                             MEMORANDUM OPINION AND ORDER

        Defendant Francisco Mares has filed a motion for modification or reduction of sentence (ECF

 No. 1487) pursuant to 18 U.S.C. §3582(c)(2) on the basis of Amendment 782 of the United States

 Sentencing Guidelines, made retroactive by the Sentencing Commission.

        Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant who

 has been sentenced based on a sentencing range that has subsequently been lowered by the

 Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States Sentencing

 Guidelines reduced by two levels the offense levels assigned to the quantities that trigger the

 statutory mandatory minimum penalties in U.S.S.G. §§ 2D1.1 and 2D1.11. These modifications

 were made retroactive effective November 1, 2014. U.S.S.G. § 1B1.10.

        The Probation Department filed a sentence modification report on April 7, 2015 (ECF No.

 1511). In its report, the probation department recommended the defendant is eligible for reduction

 in sentence based on defendant currently being an inmate, USSG § 2D1.1 was used in the guideline

 calculations, and the guideline range applicable to the defendant subsequently has been lowered as
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 a result of the retroactive amendment to the Sentencing Guidelines (782). A reduction of sentence

 is consistent with the policy statements of the U.S. Sentencing Commission. The parties have filed

 a stipulation agreeing that a sentence modification is appropriate under 18 U.S.C. § 3553.

        NOW THEREFORE, IT IS HEREBY ORDERED that Defendant's motion for modification

 of sentence (ECF No. 1487) pursuant to 18 U.S.C. § 3582(c)(2) is GRANTED. Defendant

 Francisco Mares’ sentence shall be amended to “time served as of November 1, 2015.” An order

 effectuating the sentence reduction shall issue forthwith.




 Dated: May 11, 2015                              /s/ Robert Holmes Bell
                                                  ROBERT HOLMES BELL
                                                  UNITED STATES DISTRICT JUDGE
